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    B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                        ADVERSARY PROCEEDING NUMBER
                               (Instructions on Reverse)                                          (Court Use Only)


PLAINTIFFS                          .           ..             _____--,             DEFENDANTS                D L.3.- A4021-61 ) c erf,4-el 1
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ATTORNEYS (Firm Name, Address, and Telephone No.)                                   ATTORNEYS (If Known)
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 PARTY (Check One Box Only)                                                         PARTY (Check One Box Only)
.grDebtor    o U.S. Trustee/Bankruptcy Admin                                        o Debtor     o U.S. Trustee/Bankruptcy Admin
 o Creditor  o Other                                                                el-Creditor  o Other
 o Trustee                                                                          o Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDYNO, ALL U.S. STATUTES INVOLVED)._
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     pv.msm..0- - -ro f-R, '5?                                  orcil..),                                                                     'W-
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                                                                        NATURE OF SUIT
         (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

     FRBP 7001(1)— Recovery of Money/Property                                       FRBP 7001(6)— Dischargeability (continued)
.    II-Recovery of money/property - §542 turnover of property                      M 61-Dischargeability - §523(a)(5), domestic support
.    I2-Recovery of money/property - §547 preference                                . 68-Dischargeability - §523(a)(6), willful and malicious injury
.    13-Recovery of money/property - §548 fraudulent transfer                       . 63-Dischargeability - §523(a)(8), student loan
.    I4-Recovery of money/property - other                                          . 64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                    ____ (other than domestic support)
     FRBP 7001(2)— Validity, Priority or Extent of Lien
      I--Validity, priority or extent of lien or other interest in property
                                                                              3     r 65-Dischargeability - other


                                                                                    ..,
                                                                                    FRBP 7001(7)— Injunctive Relief
    FRBP 7001(3)— Approval of Sale of Property
III 31-Approval of sale of property of estate and of a co-owner - §363(h)       4   _11;1-Injunctive
                                                                                      ,               relief— imposition of stay
                                                                                        72-Injunctive relief— other
     FRBP 7001(4)— Objection/Revocation of Discharge
                                                                                    FRBP 7001(8) Subordination of Claim or Interest
.    41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                    .  81-Subordination of claim or interest
     FRBP 7001(5)— Revocation of Confirmation
                                                                                    FRBP 7001(9) Declaratory Judgment
I. 51-Revocation of confirmation                                                    .  91-Declaratory judgment
   FRBP 7001(6)— Dischargeability
                                                                                    FRBP 7001(10) Determination of Removed Action
I:-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
,                                                                                   . 01-Determination of removed claim or cause
   62-Dischargeabi1ity - §523(a)(2), false pretenses, false representation,                      •
       actual fraud                                                                 Other
. 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny       M SS-SIPA Case— 15 U.S.C. §§78aaa etseq.
                        (continued next column)                                     M 02-Other (e.g. other actions that wo .  e been brought in state court
                                                                                                                                          f.--              •-
                                                                                           if unrelated to bankruptcy case                r.....)
o Check if this case involves a substantive issue of state law                      o Check if this is asserted to be a ,c ss actiA ung FRCigak
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   'lleck if a jury trial is demanded in complaint                                  Demand $                            up       rn
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Other Relief Sought                                                                                                                                    rilxr
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR         t.                    BANKRUPTCY CASE NO.
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DISTRI9T IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
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                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT         -                                      ADVERSARY
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DISTRICT IN WHICH ADVERSARY IS PENDING            DIVISION OFFICE       NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)


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                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court's Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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                                                                      U.S. BANKRUPTCY COURT
                                                                          NORTHERN DISTRICT
                                                                             OF GEORGIA
            IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE NORTHERN DISTRICT OF GEORGI2A23 JUN 29 FM12: 26
                       ATLANTA DIVISION            M.REGINA THOMAS
                                                                              CLERK
  In re:
                                                                                   LFRK

  Keith E. Thomas,                               Case No. 23-54066-TJ23

             Debtor,                             Chapter 13

                                                 Judge: Hon. TJ23
  V.

  Keith E. Thomas,

           Plaintiff,

   vs.                                            Adversary No.

   DLJ Mortgage Capital, Inc.,

            Defendant,

   Select Portfolio Servicing, Inc.,

            Defendant.

                                       COMPLAINT

           COMES NOW Keith Thomas, plaintiff and recognized owner of all

   real property identified within the KBDJ&D Thomas Family Trust and pursuant

   to FRBP 7001(2), respectfully seeks a determination of the validity, priority, or

   extent of all lien(s) or other purported interest(s) claimed by creditors against

   said property at 2655 West Road, Riverdale, Georgia, request relief from this court.

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                                   JURISDICTION

           1. Jurisdiction is pursuant to The Federal Rules of Bankruptcy Procedures

  and FRBP 7001(2) whereas all parties are subject to this court as either a debtor

   or a creditor asserting either a lien, right or claim for an amount of money to be

   determined by this court.

          This court has jurisdiction pursuant to 28 U.S.C.§§ 157 (a) thru

  (b)(2)(B).

           The plaintiff has standing to bring this action pursuant to FRBP

   7001(2).

           Venue is proper pursuant to 28 U.S.C. § 1409(a) and all pertinent Local

   Rules of the United States Bankruptcy Court for the Northern District of

   Georgia, Atlanta, Division.

                           BACKGROUND AND FACTS

          2. On or around 12 June, 2007 the plaintiff entered into a residential

   mortgage contract with Northstar Mortgage Group, LLC [Northstar] for a

   residential mortgage contract secured by a Note [The Note]. In December

   2009, the State of Georgia Department of Banking and Finance issued an order

   commanding Northstar Mortgage Group, LLC to cease and desist all residential

   mortgage transactions in Georgia. See plaintiff's Exhibit "1" attached hereto

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  Order to Cease and Desist issued to Northstar Mortgage Group, LLC. Said

  order became fully effective in February 2010 effectively preventing Northstar

  or preventing any agent or nominee acting on Northstar's behalf from

  conducting any residential mortgage transactions in Georgia in the name of

  Northstar.

         3. In May of 2010 plaintiff received a demand for money from Bank of

  America, N.A. [BAC] claiming to be the owner of plaintiff's mortgage and

  mortgage Note and threatening to foreclose upon plaintiff's residence if

  payment was not received from the plaintiff and paid directly to them [BAC] in

  lieu of foreclosure.

         4. As a direct result of the actions of [BAC] in May of 2010, the plaintiff

  filed for chapter 13 bankruptcy protection in this court and subsequently filed

  an adversary proceeding in this court against [BAC] seeking injunctive relief

  based on [BAC] s refusal to honor the automatic stay issued by the court. A

  telephone hearing was conducted by the court and at that time, BAC agreed to

   comply with the court's automatic stay associated with petitioner's bankruptcy

  filing at the time and the injunctive relief requested was ruled a moot point

   given that BAC agreed to comply with the automatic stay.

         5. Additionally, this court conducted a follow-up in person proceeding and

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  inquired of the BAC attorneys the whereabouts and business status of Northstar

  Mortgage Group, LLC given that Northstar was the only entity that had

  standing to either demand money from this plaintiff or to have initiated a

  foreclosure against this plaintiff according to the written contract. The BAC

  attorneys claimed to have no personal knowledge of the whereabouts of

  Northstar nor did they know whether or not Northstar even existed as a business

  on the date of the hearing. At not time did either of the attorneys indicate that

  BAC had been assigned a financial interest within a security deed nor did the

  attorneys indicate that BAC had purchased the Note from Northstar on that day

   before this court.

          6. In August, 2010 an employee for the attorneys representing Bank of

   America, NA. at the time, drafted, fabricated and signed an alleged

   [Assignment of Security Deed] document. See plaintiff's Exhibit "2" attached

   hereto the [Assignment of Security Deed document] created by Lureece D.

   Lewis attached hereto. This referenced fabricated document alleged to have

   assigned a fmancial interest within a security deed between the plaintiff and

   Northstar Mortgage Group, LLC over to Bank of America. NA..

         7. The August 2010 fabricated assignment document(s) and all subsequent

   and associated assignment document(s) referencing an alleged assignment of a

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  financial interest within a security deed from BAC over to DLJ Mortgage Capital,

  Inc. or over to Select Portfolio Servicing, Inc. lacks foundation as evidence of

  fraudulent activity dating back to the August 2010 assignment document signed by

  Lureece D. Lewis renders all subsequent alleged assignments fraudulent in nature.

         8. At some point in time between 2018 and 2022 and according to

  information mailed to the petitioner from the defendants, the defendants alleged

  to have either been assigned a financial interest within the same said security

  deed assignment documents initiated by Lureece D. Lewis dating back to

  August 2010 some 8 months past the point in time that Northstar Mortgage

   Group, LLC existed as a viable legitimate licensed and working business in

   Georgia.

          9. According to all public records, there are no documented transactions

  within any U.C.C. files within Fulton County, Georgia that indicates that Bank

   of America, N.A., DLJ Mortgage Capital, Inc., or Select Portfolio Servicing,

  Inc. has been assigned a financial interest within the Note attached to a debt

   between this petitioner and Northstar Mortgage Group, LLC , nor is there any

   evidence that either of these entity(s) ever purchased the Note attached to a debt

   between this petitioner and Northstar Mortgage Group, LLC for value from

  Northstar or from any other entity as a matter of due course in secession from

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  Northstar Mortgage Group, LLC.

           10. Bank of America, NA. is not named to this complaint primarily

   because of the fact that DLJ, Mortgage Capital, Inc. and Select Portfolio

   Servicing, Inc. are the two entity(s) now claiming to be the assignees of a

   security deed and are alleging to have purchased a security deed from Bank of

   America, N.A. that they alleges to be attached to this plaintiff's residential

   property referenced within this complaint.

                               GROUNDS FOR RELIEF

         11. Although the plaintiff and the defendants named within this

   complaint have previously appeared before a court concerning the existence of

   the assignment documents referenced within this complaint, this complaint does

   not seek to address whether or not the assignment documents exist, but instead,

   whether or not these defendants have ever purchased or acquired a

   financial right within The Note identified within a residential mortgage between

   the plaintiff and Northstar Mortgage Group, LLC. The facts outlined and

   supported within this complaint supports the plaintiffs claims that the

   defendants have never argued before any court claiming to have either

   purchased a financial right within The Note to the plaintiff's residential

   property referenced within this complaint nor have the defendants ever made a

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  claim or defense before any court that they either possess or have ever

  purchased a financial right or interest within same said Note. For those reasons,

  the defendants can not assert a plausible defense on their own behalf claiming

  to be either the [Owners of The Note] or the [Holders In Due Course] and

  should not be permitted to continue their efforts to either collect any money

  whatsoever from the plaintiff and the defendants should be enjoined from their

  attempts to conduct a foreclosure upon plaintiff's residential property

  referenced at all times within this complaint.

                                LEGAL ARGUMENT

         12. The initial transaction between this plaintiff and Northstar Mortgage

   Group, LLC identified the existence of a Note as the controlling Instrument and

   only authorizes the holder of the Note or Owner of the Note to be identified as

   the owner of a mortgage between this plaintiff and prevailing entity with a

   financial interest within the original or succeeding authority of the mortgage

   contract signed by this plaintiff. In this case, the defendants can not establish a

   financial interest or ownership of The Note and the plaintiff is entitle to

   challenge all proofs of claim filed by not supported with proof of ownership and

   proof of possession of The Note referenced herein.

         (i). 28 U.S.C.§ 157(b)(2)(B) Permits The Court to Grant Plaintiff's Relief

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  Sought By and Through This Adversary Proceeding; Pursuant to this stated

  federal bankruptcy statue, this court is empowered to and authorized to grant all

  of the stated relief sought by the plaintiff for the purposes of confirming the

  present chapter 13 plan proposed before the court and also this court can either

  allow or disallow any claims made against this plaintiff within this proposed

  chapter 13 bankruptcy proceeding.

         (ii). Federal Rules of Bankruptcy Procedures 7001(2) Provides: " An

  adversary proceeding is governed by the rules of this Part VII. The following

  are adversary proceedings; (2) a proceeding to determining the validity,

   priority, or extent of a lien or other interest in property, but a proceeding under

   Rule 3012 or Rule 4003(d)."

         (iii). The August 2010 Purported Assignment of Security Deed

   Document Lacks Foundation And Identifies Fraud On Its' Face; The 23

   August 2010 Document referenced at all times within this adversary proceeding

   is rooted in fraud given the details of its origin. This document was fabricated

   over 8 months after Northstar was ordered to cease and desist all residential

   mortgage transactions in Georgia, there is no evidence that any such attempts of

   an assignment of any sort was ever relayed to any court or to any other entity

   from the period of time from December 2009 up and to August 2010 and the

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  following factors should apply as well;

         [1]Northstar Mortgage Group, LLC did not exist or function as a viable

   or licensed business authorized to conduct or perform residential mortgage

   transactions in Georgia on 23 August, 2010;

         [2]Even if the alleged assignment transaction referenced herein could

   somehow be considered to be a legal or acceptable within the guidelines of

   Georgia law, the individual that purported to have been empowered to act either

   on the behalf of Northstar Mortgage Group, LLC or on the behalf of Mortgage

   Electronic Registration Systems, Inc. a/k/a MERS also a/k/a Merscorp

   Holdings, Inc., lacked foundation to perform such an act given that she was a

   low level employee who was simply worked for the law firm seeking to conduct

   the May 2010 foreclosure at the time and referenced herein. Additionally,

   according to the rules of operation for MERS, any company that MERS seeks

   to act on the behalf of must meet multiple levels of compliance prior to MERS

   having the power or authority to conduct any residential mortgage transactions

   on that company's behalf. In this instant case, no such compliances had been

   met, neither Northstar Mortgage Group, LLC nor any agent, nominee or

   representative at the time, had any authority whatsoever to conduct any type of

   residential mortgage transactions on the behalf of Northstar or in the name of

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  Northstar on 23 August, 2010, and secondly, the individual acting on the behalf

  of MERS [Lureece D. Lewis] was simply an employee for the law firm seeking

  to fraudulent facilitate the lack of a necessary document that were not presented

  before the bankruptcy court in support of their ongoing attempts to conduct the

  illegal and fraudulent foreclosure proceeding against this plaintiff at the time;

         [3] Even if the purported assignment documents could even still be

  considered to be somehow valid or legal by some standard of Georgia law, the

  referenced assignment document does not indicate on its face that either MERS

   or Bank of America, N.A. paid a dollar value to Northstar Mortgage Group,

   LLC in exchange for ownership of the secured instrument [the Note] that

   governed the agreement Northstar and this plaintiff.

          (iv). DLJ Mortgage Capital, Inc and Select Portfolio Servicing, Inc.

   Assignment Documents and Servicing Documents Lack Foundation Based

   On The Fact That The Lureece D. Lewis Assignment Document Fails To

   Establish a Financial Interest Within The Note; In Georgia and according to

   the contract between this plaintiff and Northstar, the prevailing Instrument that

   anyone can make a demand for money from this plaintiff is The Note, not the

   security deed. The Security Deed is only evidence of the transaction and has no

   physical value. In this case, the defendants have based their alleged financial

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  connections between this plaintiff and them derives from the validity of the 23

  August 2010 fraudulently crafted document signed by Lureece D. Lewis

  allegedly transferring a financial interest in a security deed over to Bank of

  America, NA. from Northstar Mortgage Group, LLC and eventually based on

  the validity [or the lack of validity] of that transaction.

          The defendants claim to have been assigned a financial interest within a

  security deed that resulted from a transaction from Bank of America, NA. over

  to them and has been attempting to foreclose upon this plaintiff's referenced

  residential property based on the transactions between themselves and Bank of

  America, NA..

         There is no evidence that Bank of America, N.A. either bought or

   invested in The Note to plaintiff's residence nor is there any evidence that these

   defendants ever bought or invested in The Note to plaintiff's residence nor have

   either one of these two entity(s) previously asserted before any court to have

   purchased the Note to plaintiff's mortgage transaction nor have they indicated

   that they have invested in the possession of the Note.

          (v). The Defendants Are Not The Holder In Due Course of The Note;

   Georgia Code Title 11 — commercial Code, Article 3 — Negotiable Instruments,

   Part 3 — Enforcement of Instruments § 11-3-302 Holder in Due Course...GA

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   code § 11-3-302 (2020)...

  (a).. Subject to subsection (c) of this Code Section and subsection (d) of code

   Section 11-3-106, "Holder in Due Course" means the holder of an Instrument

   if, [1] The Instrument, when issued or negotiated to the holder does not bear

  such apparent evidence of forgery or alteration or is not otherwise so irregular

   or incomplete as to call into question its authenticity; and [2] The holder took

   the Instrument;

  (b)...Notice of discharge of a party, other than discharge in an insolvency

   proceeding, is not notice of a defense under subsection (a) of this Code section,

   but discharge is effective against a person who became a holder in due course

  with notice of the discharge. Public filing or recording of a document does not

   of itself constitute notice of a defense, claim in recoupment, or claim to the

   Instrument.

  (c)... .Except to the extent a transfer or procedecessor in intrest has rights as a

   holder in due course, a person does not acquire rights of a holder in due course

   of an Instrument taken (i) by legal process or by purchase in an execution,

   bankruptcy, or creditor's sale or similar proceeding; (ii) by purchase a part of a

   bulk transaction not in ordinary course of business of the transferor, or (iii) as a

   successor in interest to an estate or other organization.

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   (d)...If under paragraph [1] of subsection (a) of Code Section 11-3-303, the

   promise performance that is the consideration for an Instrument has been

   partially performed, the holder may assert rights as a holder in due course of the

   Instrument only to the fraction of the amount payable under the instrument

   equal to the value of the partial performance divided by the value of the

   promised performance.

   (e).. if the person entitled to enforce an Instrument has only a [Security

   Interest] in the Instrument and the person obligated to pay the Instrument as a

   defense, claim in recoupment, or claim to the Instrument that may be asserted

   against the person who granted the security interest, the person entitled to

   enforce the Instrument may assert rights as a holder in due course only to an

   amount payable under the Instrument which, at the time of enforcement of the

   Instrument, does not exceed the amount of the unpaid obligation secured.

   (0...To be effective, notice must be received at a time and manner that give a

   reasonable opportunity to act on it.

   (g)... This Code section is subject to any law limiting status as holder in due

   course in particular classes of transactions

         Applying Georgia law and the Uniform Commercial Codes that are well

   known and applicable to this matter, the defendants do not qualify as a Holder

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   in Due Course to the Note attached to a relative mortgage contract between this

   plaintiff and Northstar Mortgage Group, LLC and accordingly, this set of

   defendants cannot enforce recoupment to any amount of money either paid,

   owed, or promised to be paid to Northstar from this plaintiff.

         If the court should somehow deem the defendants to be able to claim or

   assert that they are Holders in Due Course to the Note referenced in this

   complaint, then any Note or document that they may claim to be the Note must

   be scrutinized for authenticity and irregularities as referenced above. That

   includes whether or not the plaintiff's finger prints are on the document,

   whether or not the document has unclear irregular markings or if the document

   has been altered in any other ways from its original state.

                                   JURY DEMAND

          13. Pursuant to BLR 9015-1 and Fed. R. Civ. P. 38(b), the plaintiff now

   demands a trial by jury for all issues raised within this complaint before this

   court. BLR 9015-1(a) provides; "Pursuant to 28 U.S.C. § 157(e) and

   Bankruptcy Rule 9015, a party must demand a trial by jury in accordance with

   Fed. R. Civ. P. 38(b). A demand must include a statement that the party does or

   does not consent to a jury trial conducted by the Bankruptcy Court."

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                                   RELIEF SOUGHT

          14. The plaintiff is seeking a complete denial of any and all claims made

   the defendants against the plaintiff's residential property, that all previous liens,

   judgments or prior court rulings in the defendants favor that pertains to or

   relates to these defendants having ever been assigned a financial interest within

   a security deed attached to the plaintiff's residence referenced within this

   complaint, be hereby enjoined and rendered unenforceable as their supporting

   evidence in connection to any proofs of claim made before this court unless it is

   coupled with the original Note to plaintiff's mortgage transaction, a receipt

   establishing the purchase of said Note along with all related documents dating

   back to the date of the original transaction between this plaintiff and Northstar

   Mortgage Group, LLC.

           Additionally, the plaintiff request that the Court enjoin the defendants

   from the enforcement of any previously issued assignment documents that

   identifies any real estate assignment transactions between the defendants and

   any other business entity as evidence in support of any proofs of claim made

   before this court.

           Additionally, the plaintiff is seeking an enjoinment of any and all legal

   fees claimed by the defendants in connection with their defense of, prosecution

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   of their attempts to either enforce a claim for money they allege to be owed to

   them by the plaintiff or their attempts to collect any related legal fees related to

   or in association with all matter either presently or previously asserted by the

   defendant and their attorneys associated with this complaint.

          Additionally, the plaintiff seeks compensatory damages from the

   defendants in an amount to be determined by a jury for the plaintiff having to

   file this adversary proceeding and having to defend against the defendant's

   ongoing and continuous unlawful pursuits at attempting to collect on a debt

   from the plaintiff that they are not owed.

           WHEREFORE the plaintiff prays that the Court grant him the relief that

   he seeks as federal bankruptcy laws, Georgia laws and the Uniform

   Commercial Codes offered in support of plaintiff's complaint fully authorizes

   and empowers this Court to grant any such relief deemed adequate and

   just and also all of the relief sought here by this plaintiff.

          For these reasons, the plaintiff respectfully submits this complaint before

   this Honorable Court.

             Respectfully submitted on this g        day of June, 2023.


   Kith Thomas, plaintiff
   P.O. Box 960242
   Riverdale, GA 30296

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                             Document     Page 19 of 25



   404-838-0394
   mckneck2003 @yahoo.com


                               END OF DOCUMENT




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                         PLAINTIFF'S EXHIBIT "1"
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                             Department of Banking andFinance
                                        2990 Brandywint Road, Suite 200
                                          Atlanta, Georgia 30341-5565
Sonny Perdue                                         770-986-1633                                   Robert M. Braswell-
  governor                                          wwwgaddforg                                         Conunissioner

                                                   December 31, 2009



      Mr. William Sander, President
      Northstar Mortgage Group, LLC
      68 Eastbrook Bend, Bldg. 53
      PEACHTREE CITY, GA 30269

                                           ORDER TO CEASE AND DESIST

      The Georgia Department of Banking and Finance ("Department") received notification from Hartford Fire
      Insurance Company on December 31, 2009, that the surety bond issued to Northstar Mortgage Group, LLC,
      License #20887, will be cancelled on February 01, 2010. Please be advised that the Georgia Residential
      Mortgage Act requires all mortgage lenders and mortgage brokers to operate under a valid bond in form and
      terms acceptable and payable to the Department 0.C.G.A. § 7-1-1003.2             Failure to maintain the
      appropriate coverage will result in administrative action. 0.C.G.A. § 7-1-1018.

       You are hereby ordered to cease and desist from operating as a mortgage licensee on the close of
      business February 01, 2010, unless, before that date, you have submitted to the Department a bond in effect
      on that date that complies with the requirements of 0.C.G.A. § 7-1-1003.2 and Department Rule 80-11-4-
      .03(3)(c).

      The license issued to Northstar Mortgage Group, LLC will expire and no longer be valid as of February 01,
      2010, should you fail to provide this information to the Department prior to that date. 0.C.G.A. § 7-1-1018.
      There will be no opportunity for a hearing on this issue. 0.C.G.A. § 7-1-1018.

     You will receive no further notice of the expiration of your license if you do not produce the required
     documentation by the date specified. The information about your expired license will be published
     as with other activities on licenses. You may not conduct a mortgage business without a required
     license.    Please contact Larry Shelley via telephone at (770) 986-1372 or via email at
     shelley@dbf.state.ga.us should you have any questions concerning this matter.




                                                              ixql 5
                                                 Rod Games, C E
                                               Deputy Commissioner
                                          Non-Depository Financial Institutions
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                         PLAINTIFF'S EXHIBIT "2"
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                                                                                           Clerk of Superior, Court
                                                                                            Fulton County, Soorgla




             Prepared by and after Recording
             Return tu;
             Name:      Elizabeth Hunter Pins
             ftrnI/Co   PROMM1S SOLUTIONS,
             rnpany;    LLC
             Addre,in;  KM: ASSIGNMENTS
             Andress
             2:         1544 OLD ALABAMA
             City,      ROAD
             Suite,     ROSWELL, OA 30076

             Phryne:       (800)275-7171
                                                       -----At3ove 'nth Une Reserved Far OffirIal the Oniy
                               'I

             Assessor': "---         "-Teel/A cermet
            .. Number: e
               CHL !I; 5178i
                                      ASSIGNMENT OF SECURITY DEED

               Name and Ad d;ress of Anignor:                     Name and Address of Assignee:
               Mortgage Electionic Registration                   BAC Home Loans Servicing, LP. Fl< A
               Systems, Inc., solely as nominee for               Countrywide Home Loans Servicing,
               NorthStar Mortgage Group LLC. whose                L.P. whose address is 7105 Corporate
               address is 3300 SW 34th Avenue, Suite              Drive, Mall Stop PTX-C-35, Plano, 'IX,
               101, Ocala, 1:04474                                75024


                        FOR VALUE RECEIVE1), the receipt end sufficiency of which is hereby
               acknowledged, he undersigned, Mortgage Electronic Registration Systems, Inc., solely
               as nominee for .horthStar Mortgage Group LLC. , "Assignor', whose address is above,
               does hereby grant, sell, assign, transfer and convey to SAC Home Loans Servicing, L.P.
               FICA Countrywide Horne Loans Servicing, LP,, 'Assignee," whose address is above, n11
               interest of the undersigned Assignor in and to the following described security deed


               Date or Seta rity Deed;           June 12, 2001         IvIrtuirity Date;       July 1,2037
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    \                           Exhibit E Page 2 of 3
      r„
                                                                                  Ned Book 49355           Pg   389




             Executed                    by    Keith E. Thomas
             (Mortgagor(s))1
                                               Individual
            TO   and    in      favor    of    Mortgage Electronic Registration Systems, Inc., solely
            (Mortgagee);                       us nominee for NorthSttir Mortgage GroupLLC.

             Piled of Record: In Elook       45245    , Page          448
             Document/Inst. No.        2007-0186592      , in the Office of the Superior Court Clerk
             for         Fulton         County, Georgia, on       Juno 25, 2007     (chite).
             Property:    2655 West Road, Riverdale, Georgia 30296
                          (As described in thc Legal Description attached hereto as Exhibit A.)

             Given: to secure a certain Promissory Note In the amount       $ 1550900.00.
             of



                     Togethr with the note(s) end obligations therein described or referred to, the
             inoney due andto become due thereon, with intmest, and all rights accrued or to socrue
             under said Seedilly Deed.

                     TO HAYE AND TO HOLD the sanne unto Assignee and unto its successors and
             assigns foreveri lsubject only to the terms and conditions of the above-described Security
             Deed.

                     Assignor is the present holder of the above-described Security Deed.

                    IN WITNESS WHEREOF', thi assignment was executed by the undtaigned
             Assignor on this the ..4.23 _tioy of 4,4(.45.14.1_±.., 20 a?   •
                                                         4
             NUN:                       4436            MFRS PlIONE: 1-888-619-6377
                                                        Mortgage F,Iectranic Registration Systems, Inc.,
                                                        solcly as nominee for NorthStar Mortgage
                                                        Group LC,




                                                               kt,”—
                                                    ,        Lurcert                  t
                                                             4-44-c-thit1R.1              Aoent
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                                  Exhibit E. Page 3 of 3
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              Sigmxl, Sealed and Delivered
              in the presence of:


              Wimess Nam




              My Commission Expires:




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              (Seal)                         c      PrietAc,

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